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                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION


UNITED STATES OF AMERICA,                         )
                                                  )         Case No. 1:06-CR-00394
       Plaintiff,                                 )
                                                  )
       v.                                         )         Judge Ann Aldrich
                                                  )
JOSEPH SMITH, et al.,                             )
                                                  )
       Defendants.                                )
                                                  )         ORDER
                                                  )
                                                  )


       Judge Aldrich held a pretrial teleconference with counsel on November 27, 2007 to schedule

a trial date and motion deadlines. At the teleconference, counsel agreed to the following:

       Trial is set for 9 a.m., Monday, April 21, 2008, in Courtroom 17B, Carl B. Stokes U.S.

Courthouse, 801 West Superior Avenue, Cleveland, Ohio 44113.

       The Government is to provide defense counsel with a proposed exhibit list by Wednesday,

January 30, 2008. The Government and Mr. Smith must file their exhibit lists by Wednesday, February

27, 2008.

       Proposed juror questionnaires must be submitted by Friday, March 14, 2008. Potential jurors

will complete the questionnaire on March 28, 2008 (the government and Mr. Smith will be provided the

completed questionnaires following their completion by potential jurors). At 12 p.m. on Friday, April

4, 2008 counsel for the government and Mr. Smith are to meet in the chambers of Judge Aldrich,

Courtroom 17B, Carl B. Stokes U.S. Courthouse, 801 West Superior Avenue, Cleveland, Ohio 44113

to review the completed juror questionnaires.
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        Motions in limine must be filed by Friday, March 14, 2008; opposing party responses to the

motions in limine are due on Friday, March 28, 2008; and replies, if any, are due on Thursday, April 3,

2008.

        Proposed voir dire questions must be submitted by Wednesday, April 16, 2008.



        IT IS SO ORDERED.

                                                         /s/ Ann Aldrich
                                                        ANN ALDRICH
                                                        UNITED STATES DISTRICT JUDGE

Dated: December 5, 2007




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